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15
                                  UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                      OAKLAND DIVISION
18

19   EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20                  Plaintiff, Counter-defendant,   DECLARATION OF J. WESLEY
                                                    EARNHARDT IN SUPPORT OF
21                       v.                         PLAINTIFF EPIC GAMES, INC.’S
                                                    OPPOSITION TO DEFENDANT APPLE
22   APPLE INC.,                                    INC.’S MOTION FOR AN ADVERSE
                                                    CREDIBILITY FINDING
23                  Defendant, Counterclaimant.
                                                    The Honorable Yvonne Gonzalez Rogers
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     DECLARATION OF J. WESLEY
     EARNHARDT                                              CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR Document 648-1 Filed 05/12/21 Page 2 of 3



 1          I, J. Wesley Earnhardt, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of New York and admitted to
 3   appear before this Court pro hac vice in Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-
 4   YGR-TSH. I am a partner at the law firm of Cravath, Swaine & Moore LLP and am one of the
 5   attorneys representing Epic Games, Inc. (“Epic”) in the above-captioned action.
 6          2.      I submit this declaration in support of Epic’s Opposition to Apple Inc. (“Apple”)’s
 7   Motion for an Adverse Credibility Finding in this matter. (ECF No. 602.) The contents of this
 8   declaration are based on my personal knowledge except as to matters stated on information and
 9   belief. As to those matters stated on information and belief, I am informed and believe them to be
10   true. If called to be a witness, I could and would testify competently to the contents of this
11   declaration.
12          3.      A true and correct copy of excerpts from the transcript of the trial in this matter is
13   attached hereto as Exhibit A.
14          4.      A true and correct copy of excerpts from the transcript of the deposition of
15   Lori Wright in this matter, conducted on April 16, 2021, is attached hereto as Exhibit B.
16          5.      A true and correct copy of Apple’s Rule 26(a)(1) Initial Disclosures, served on
17   October 12, 2020, is attached hereto as Exhibit C.
18          6.      A true and correct copy of Apple’s Subpoena to Microsoft Corporation
19   (“Microsoft”), dated November 6, 2020, which was sent to Epic on November 3, 2020, is attached
20   hereto as Exhibit D.
21          7.      A true and correct copy of Epic’s document subpoena to Microsoft, dated
22   December 2, 2020, is attached hereto as Exhibit E.
23          8.      A true and correct copy of Apple’s Notice of Declarations of Authenticity of
24   Business Records Pursuant to Federal Rule of Evidence 902(11) & 902(14), dated May 1, 2021,
25   which has been excerpted to remove declarations from third parties not implicated by this motion,
26   is attached hereto as Exhibit F.
27          9.      A true and correct copy of Epic’s Tentative Initial Witness List, served March 12,
28   2021, is attached hereto as Exhibit G.

      DECLARATION OF J. WESLEY                         2
      EARNHARDT                                                     CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR Document 648-1 Filed 05/12/21 Page 3 of 3



 1          10.    A true and correct copy of a document produced by Microsoft in this litigation

 2   bearing Bates number MSFT_EPIC_00008040 is attached hereto as Exhibit H.

 3          11.    A true and correct copy of a document produced by Microsoft in this litigation

 4   bearing Bates number MSFT_EPIC_00008041 is attached hereto as Exhibit I.

 5   EPIC’S PURSUIT OF DOCUMENT DISCOVERY FROM MICROSOFT

 6          12.    On December 2, 2020, Epic served the document subpoena attached hereto as

 7   Exhibit E on Microsoft.

 8          13.    After serving Epic’s document subpoena on Microsoft, counsel for Epic met and

 9   conferred with counsel for Microsoft regarding the scope of Microsoft’s document production in

10   response to Epic’s subpoena.

11          14.    During those meet and confer sessions, counsel for Epic requested, consistent with

12   its subpoena, that Microsoft produce documents regarding Microsoft’s Windows 10 in S Mode;

13   reports, statistics and projections for the xCloud business; and documents concerning Apple’s

14   refusal to allow Microsoft’s xCloud app on the App Store.

15          15.    In response to Epic’s subpoena, Microsoft did not produce documents regarding

16   Microsoft’s Windows 10 in S Mode; reports, statistics and projections for the xCloud business; or

17   documents concerning Apple’s refusal to allow Microsoft’s xCloud app on the App Store.

18          16.    Apple has produced in this litigation certain email communications between

19   Microsoft personnel, including Lori Wright, and Apple personnel regarding Microsoft’s xCloud

20   game streaming service, including, among others, the documents beginning with Bates numbers:

21   APL-EG_00007947 (PX-2311), APL-EG_02785080 (PX-2342), APL-EG_04979944 (PX-2360),

22   APL-EG_04981492 (PX-2361), and APL-EG_06983915 (PX-2380).

23          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

24   and correct and that I executed this declaration on May 12, 2021, in Westchester County,

25   New York.

26                                                    /s/ J. Wesley Earnhardt
                                                      J. Wesley Earnhardt
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      DECLARATION OF J. WESLEY                       3
      EARNHARDT                                                   CASE NO. 4:20-CV-05640-YGR-TSH
